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                                          Pro Hac Vice
                                      2
                                          Michael Kind, Esq.
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                                          KAZEROUNI LAW GROUP, APC
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       Las Vegas, NV 89148




                                     13
                                     14                          UNITED STATES DISTRICT COURT
                                     15                               DISTRICT OF NEVADA
                                     16
                                              Joseph J. Smith, on behalf of                      Case No.: 2:16-cv-02156-GMN-NJK
                                     17       himself and all others similarly
                                     18       situated,                                          DECLARATION OF MICHAEL KIND IN
                                                                                                 SUPPORT OF MOTION FOR
                                     19                       Plaintiff,                         ATTORNEYS’ FEES, COSTS, AND
                                     20       v.                                                 INCENTIVE AWARD
                                     21       One Nevada Credit Union,                           Hearing: March 5, 2019
                                     22                                                          Time: 11:00 am
                                                              Defendant.                         Courtroom: 7D
                                     23
                                     24                                                          Chief Judge Gloria M. Navarro
                                     25
                                     26                              DECLARATION OF MICHAEL KIND

                                     27   I, Michael Kind, declare:

                                     28   1. I am co-counsel of record for plaintiff Joseph J. Smith (“Plaintiff”) in the above-


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                                      1       captioned action against defendant One Nevada Credit Union (“Defendant”). I am a
                                      2       member in good standing of the State Bar of Nevada. I am also licensed to practice in
                                      3       this Court and have handled numerous consumer cases in state and federal court.
                                      4       Except as otherwise noted, I have personal knowledge of the facts set forth in this
                                      5       declaration, and could testify competently to them if called upon to do so.
                                      6   2. Since my admission to the State Bar of Nevada in 2015, I have been engaged almost
                                      7       exclusively in the area of consumer rights litigation, primarily in the area of fair credit
                                      8       reporting, fair debt collections, the defense of debt collection lawsuits, and class
                                      9       action litigation under the FCRA, TCPA, and the Fair Debt Collection Practices Act.
                                     10   3. I am the managing associate for the Nevada office of Kazerouni Law Group, APC,
                                     11       which has an outstanding reputation in the community for consumer protection
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                                     12       litigation. My firm has offices in California, Nevada, Arizona, Texas, and Utah, and
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                                     13       has extensive experience in consumer class actions and other complex litigation,
                                     14       including numerous FCRA cases. My firm has a history of aggressive, successful
                                     15       prosecution of consumer class actions, specifically under the Fair Credit Reporting
                                     16       Act, Fair Debt Collection Practices Act and Telephone Consumer Protection Act.
                                     17   4. I am writing this declaration in support of the Motion for Attorneys’ Fees, Costs, and
                                     18       Incentive Award in this case.
                                     19   5. I have personal knowledge of the following facts and, if called upon as a witness,
                                     20       could and would competently testify thereto, except as to those matters which are
                                     21       explicitly set forth as based upon my information and belief and, as to such matters, I
                                     22       am informed and believe that they are true and correct.
                                     23   6. The Parties have litigated this dispute for over two years, as the action was filed in
                                     24       this court on September 13, 2016. ECF No. 1.
                                     25   7. The Parties agreed to mediation with an experienced mediator, Honorable Jackie
                                     26       Glass (Ret.), through Advanced Resolution Management, here in Las Vegas. The
                                     27       mediation sessions were held on May 19, 2017 and August 25, 2017 and a settlement
                                     28       agreement was reached soon after.


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                                      1   8. The settlement was negotiated heavily at arms length over a period of months.
                                      2   9. A written Settlement Agreement was finalized and fully executed in October 2017.
                                      3   10. It is my opinion that the settlement class as defined satisfies the requirements of
                                      4       F.R.C.P. 23. I believe the settlement is fair. I also believe the settlement will have a
                                      5       deterrent effect on future alleged violations of the Fair Credit Reporting Act, 15
                                      6       U.S.C. § 1681, et seq. (“FCRA”) by Defendant and similar businesses.
                                      7   11. I am unaware of any conflict of interest between Plaintiff and the settlement class
                                      8       members or between Plaintiff and counsel.
                                      9   12. Based on my experience, and for all the reasons detailed herein, I believe that the
                                     10       requested attorneys’ fees, costs and incentive award is fair and reasonable.
                                     11                                             CASE HISTORY
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                                     12   13. Plaintiffs’ Complaint was filed on September 13, 2016; ECF No. 1;
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                                     13   14. On November 4, 2016, Defendant filed its motion to dismiss; ECF No. 12;
                                     14   15. Plaintiff filed his Response on November 21, 2016; ECF No. 14;
                                     15   16. Defendant filed its Reply on December 1, 2016; ECF No. 17;
                                     16   17. On December 22, 2016, Defendant filed its Motion to Stay Discovery; ECF No. 25;
                                     17   18. Plaintiff filed his Response on January 5, 2017; ECF No. 27;
                                     18   19. Defendant filed its Reply on January 12, 2017; ECF No. 30;
                                     19   20. On January 18, 2017, this Court denied Defendant’s Motion to Stay Discovery; ECF
                                     20       No. 33;
                                     21   21. Plaintiff served his written discovery requests on February 22, 2017;
                                     22   22. On May 19, 2017, the Parties held a mediation session with Honorable Jackie Glass
                                     23       (Ret.).
                                     24   23. On June 27, 2017, this Court denied in part and granted in part Defendant’s motion to
                                     25       dismiss; ECF No. 39;
                                     26   24. Plaintiff took Defendant’s Rule 30(b)(6) deposition, including three Defendant
                                     27       executives, on June 30, 2017;
                                     28   25. Defendant took Plaintiff’s deposition on July 17, 2017;


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                                      1   26. In discovery it was found that the size of the class was likely greater than originally
                                      2       believed and encompassed all of Defendant’s members. A First Amended Complaint
                                      3       was filed on July 18, 2017; ECF No. 43;
                                      4   27. Defendant answered the Amended Complaint on August 1, 2017; ECF No. 48;
                                      5   28. On August 25, 2017, the Parties held a second mediation session with Honorable
                                      6       Jackie Glass (Ret.).
                                      7   29. On October 6, 2017, the Parties had exchanged a fully executed class action
                                      8       settlement agreement;
                                      9   30. The Joint Motion for Preliminary Approval of Class Action Settlement was granted on
                                     10       September 16, 2018.
                                     11                                  RISKS OF CONTINUED LITIGATION
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                                     12   31. I believe that the claims asserted in the actions have merit but taking into account the
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                                     13       burdens, uncertainty and risks inherent in this litigation, I believe that further
                                     14       prosecution of this action through trial would be protracted, burdensome, and
                                     15       expensive, and that it is desirable, fair, and beneficial to the settlement class that the
                                     16       action now be fully and finally compromised, settled and terminated in the manner
                                     17       and upon the terms and conditions set forth in the Settlement Agreement.
                                     18   32. Specifically, Plaintiff faces challenges and difficulties in proving that Defendant’s
                                     19       actions in obtaining the credit reports were permissible.               And even if unlawful,
                                     20       Plaintiff faces challenges in proving Defendant’s actions were willful and what the
                                     21       damages, if any, were sustained by the class members. It is possible that the issue of
                                     22       whether Defendant acted willfully will have to be determined on a case-by-case basis.
                                     23   33. Furthermore, certifying a case as a class action is also a massive litigation hurdle.
                                     24   34. Based on the above, I believe, based on my experience that the class action settlement
                                     25       in this case is fundamentally fair.
                                     26                                   CLASS COUNSEL’S EXPERIENCE
                                     27   35. I received my law degree from Cornell Law School in New York in 2015.
                                     28   36. I am admitted to practice law before the courts of the State of Nevada, the United


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                                      1       States District Court for the District of Nevada and the Ninth Circuit Court of
                                      2       Appeals.
                                      3   37. I am also admitted to practice law in New York.
                                      4   38. I have also litigated consumer cases in Texas and California.
                                      5   39. Since my admission to the State Bar of Nevada in 2015, I have been engaged almost
                                      6       exclusively in the area of consumer rights litigation, primarily in the area of FCRA,
                                      7       TCPA, and the FDCPA and related federal and state consumer statues.
                                      8   40. I was nominated for the 2017 Top 100 Lawyers in Las Vegas by My Vegas magazine.
                                      9   41. I was awarded the 2018 Vince Consul Memorial Pro Bono Award through the Legal
                                     10       Aid Center of Southern Nevada for helping low-income Nevadans and veterans with
                                     11       consumer-related legal issues.
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                                     12   42. I am or have been personally involved in numerous other consumer-related class
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                                     13       actions, including FCRA class actions, including Hayes v. Equiinet, Inc., No. 2:18-
                                     14       cv-02025-JAD-CWH (D. Nov.); Martinez v. Royal Links Golf Club No. 2:18-
                                     15       cv-02393-KJD-CWH (D. Nev.); Florence v. State Farm Bank, No. 2:16-cv-00515-
                                     16       APG-GWF (D. Nev.); Stanton v. Patient Accounting Service Center, No. 2:16-
                                     17       cv-02342-APG-CWH (D. Nev.); Beck v. Bayview, No. 2:16-cv-00786-GMN-NJK (D.
                                     18       Nev.).
                                     19   43. I also served as lead counsel in the following class actions:
                                     20       (a) Kamimura v. Green Tree Services, LLC, No. 2:16-cv-00783-APG-CWH (D. Nev.)
                                     21           (notice of class action settlement filed);
                                     22       (b) Harris, et al v. Treasure Island, No. A-18-772302-C (8th Jud. Dist. Nev.) (pending
                                     23           preliminary approval);
                                     24       (c) Khoury v. Wynn Resorts, Ltd, No. A-18-773073-C (8th Jud. Dist. Nev.) (pending
                                     25           preliminary approval).
                                     26   44. In this case, I have been the lead attorney on the case since it was filed in September
                                     27       2016.     I briefed Plaintiff’s opposition to Defendant’s motion to dismiss.                 I also
                                     28       successfully briefed Plaintiff’s opposition to Defendant Motion to Stay Discovery. I


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                                      1       served the written discovery in this case and took Defendant’s deposition that included
                                      2       three Rule 30(b)(6) witnesses. In discovery I discovered that the size of the class
                                      3       included all of Defendant’s members. I filed the First Amended Complaint on July
                                      4       18, 2017.
                                      5   45. I successfully briefed a heavily litigated FCRA issue before this Court in Riekki v.
                                      6       Bank of America, et al, No. 2:15-cv-2312-GMN-VCF (D. Nev.).
                                      7   46. I assisted in briefing the appellate briefs before the Ninth Circuit in Riekki v. Bayview
                                      8       Financial Loan Servicing, et al, No. 16-16438 (on appeal from No. 2:15-cv-02427-
                                      9       JCM-GWF (D. Nev.) (FCRA case).
                                     10   47. I successfully briefed consumer-related TCPA issues in Hastings, et al, v. Triumph
                                     11       Property Management Corporation, No. 2:16-cv-00213-JAD-PAL (D. Nev. Jan. 26,
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                                     12       2017) (Order denying motion to dismiss).
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                                     13   48. I have also litigated numerous consumer cases in Nevada state court. For example, I
                                     14       recently successfully brought a complex Anti-SLAPP motion on behalf of consumers
                                     15       in Mehadi, et al, v. Las Vegas Luxury Motor Co., No. A-16-739077-C (E.J.D.C. May
                                     16       9, 2017).
                                     17   49. On June 15, 2017, I argued before the Ninth Circuit Court of Appeals in Elghasen v.
                                     18       RBS Computer, Inc., et al, No, 15-16283 (9th Cir.) in an FCRA case involving issues
                                     19       of personal jurisdiction.
                                     20   50. I have litigated numerous consumer-related cases in Nevada. E.g., Whitlock-Allouche
                                     21       v. PlusFour, Inc., No. 2:17-cv-01656-RFB-VCF, 2018 U.S. Dist. LEXIS 151647 (D.
                                     22       Nev. Sep. 6, 2018) (surviving summary judgment in heavily litigated FCRA case);
                                     23       Bobo v. Clark Cty. Collection Serv., LLC, No. 2:16-cv-02911-APG-CWH, 2018 U.S.
                                     24       Dist. LEXIS 48007 (D. Nev. Mar. 23, 2018) (surviving summary judgment in heavily
                                     25       litigated FDCPA case).
                                     26   51. I successfully briefed consumer-related FDCPA issues in Bright v. Bergstrom Law,
                                     27       Ltd., No. 2:17-cv-01971-JAD-VCF, 2018 U.S. Dist. LEXIS 119800 (D. Nev. July 18,
                                     28       2018) (granting Plaintiff’s motion for summary judgment).


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                                      1   52. The results of the cases mentioned herein are a direct result of the diligence and
                                      2       tenacity shown by both me and Kazerouni Law Group, APC in successfully
                                      3       prosecuting complex consumer cases and class actions.
                                      4                                            HOURS INCURRED
                                      5   53. As of December 18, 2018, I have incurred at least 199.7 hours working on this
                                      6       litigation.
                                      7   54. I anticipate incurring approximately 25 additional hours through the final approval
                                      8       hearing and in handling settlement award distribution and any cy pres distribution of
                                      9       unclaimed funds, and addressing any objections that might be filed.
                                     10   55. I have been previously approved by this court and in the Eighth Judicial District Court
                                     11       in the following cases for $250 per hour:
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                                     12                Mehadi v. Las Vegas Luxury Motor Co. (8th Jud. Dist. Nev. 2017)
       Las Vegas, NV 89148




                                     13                     Case No. A-16-739077-C
                                     14                     Hon. Jim Crockett, District Court Judge
                                     15                Moye v. Halsted Financial Services, LLC (D. Nev. 2016)
                                     16                     Case No. 2:14-cv-01339-JAD-VCF
                                     17                     Hon. Jennifer Dorsey, U.S. District Judge
                                     18   56. I was recently approved by the Eighth Judicial District Court in the following case for
                                     19       $275 per hour:
                                     20                Robbins, Rebecca v. USA Auto (8th Jud. Dist. Nev., May 2018)
                                     21                     Case No. A-17-754436-C
                                     22                     Hon. Ronald J. Israel, District Court Judge
                                     23   57. No fees for work of support staff or paralegals are being requested.
                                     24                                         LITIGATION EXPENSES
                                     25   58. As of December 18, 2018, my firm, Kazerouni Law Group, APC, has incurred
                                     26       $8,509.67 in litigation expenses, as detailed in Exhibit A.
                                     27
                                     28

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                                      1                                           CONTINGENCY FEE
                                      2   59. This action was taken on a contingency fee basis, and Plaintiff’s counsel have not
                                      3       been compensated to date for any work in the litigation against Defendant.
                                      4                                                 EXHIBITS
                                      5   60. Attached hereto as Exhibit A is an accounting of the litigation expenses incurred by
                                      6       Kazerouni Law Group, APC in this case.
                                      7   I declare under penalty of perjury that the foregoing is true and correct. Executed on
                                      8   December 26, 2018, pursuant to the laws of the United States and the State of Nevada at
                                      9   Las Vegas, Nevada.
                                     10
                                                                                    By: /s/ Michael Kind
                                     11                                                Michael Kind, Esq.
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